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 3 Ph. 916-769-8842

 4
   Attorney for:
 5 JORDAN WIRTZ

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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 11-CR-00226 TLN
12                                 Plaintiff,               STIPULATION AND PROPOSED
                                                            ORDER TO EXONERATE BOND
13   v.                                                     AND RECONVEY PROPERTY
14   JORDAN WIRTZ, et. al.,
15                                 Defendants,
16

17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant
19
     JORDAN WIRTZ, by and through his counsel of record, hereby stipulate as follows:
20
            1.       Defendant Jordan Wirtz is presently in the custody of the United States Marshals
21
                     Service, in the Nevada County jail, held on the authority of the detention order of the
22

23                   Honorable Judge Edmund F. Brennan. (ECF Doc. No. 139.)

24          2.       Defendant Wirtz has plead guilty to a violation of 19 USC 924(c) and his sentencing

25                   is scheduled for December 18, 2014.
26          3.       Defendant was previously on pretrial release on a bond (ECF Doc. No. 59) secured by
27
                     $100,000 of equity pursuant to the deed lodged with the Clerk of the Court. (ECF
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                                                        1
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                    Doc. No. 58.)
 1
           4.       The surety of said bond has contacted the attorney for defendant Wirtz and requested
 2

 3                  that the bond be exonerated and that the title of the property used to secure the bond

 4                  be unencumbered by the bond as defendant Wirtz is now in custody and awaiting
 5                  sentencing.
 6
           5.       The parties hereby agree that the bond previously used to secure defendant Wirtz’s
 7
                    appearance, and tendered to the Clerk of the Court as ECF Doc. No. 59, may be
 8
                    exonerated and that the property used to secure the bond (ECF Doc. No. 58) may be
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10                  re-conveyed to the sureties guaranteeing said bond.

11         The government has provided attorney for defendant Wirtz permission to sign this stipulation

12 on his behalf.

13

14
     IT IS SO STIPULATED.
15

16
     DATED:         October 28, 2014
17

18                                         /s/ Michael Beckwith___________________
                                           MICHAEL BECKWITH
19                                         Assistant United States Attorney

20
     DATED:         October 28, 2014
21

22                                         /s/ Scott Cameron
                                           SCOTT N. CAMERON
23                                         Counsel for JORDAN WIRTZ

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 1                                               ORDER
 2
              GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT, defendant Wirtz’s
 3
     release bond (ECF Doc. No. 59) is hereby exonerated and the Clerk of the Court is directed to re-
 4

 5 convey all property securing said bond (ECF Doc. No. 58) to the sureties guaranteeing the bond.

 6 Dated: October 28, 2014

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     Dad1.crim
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     Wirtz.0226.stip.exon.bond
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